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                         UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT COURT OF NEW YORK

JAA DOE,                                               Case 1:24-cv-00345-AT

                   Plaintiff,
v.                                                         MEMORANDUM OF LAW
                                                         IN SUPPORT OF PLAINTIFF’S
NEIL PORTNOW; NATIONAL ACADEMY                               MOTION TO REMAND
OF RECORDING ARTS & SCIENCES,
INC.; DOES 1-5 whose identities are
unknown to Plaintiff,

                   Defendants.



                                       INTRODUCTION

       Plaintiff respectfully requests that this matter be remanded to the Supreme Court of the

State of New York, County of New York, where it originated. Defendant the National Academy

of Recording Arts & Sciences, Inc.’s (“the Recording Academy” or “Defendant”) has not met its

burden of establishing that this Court has the power to exercise original jurisdiction on diversity

grounds, barring removal pursuant to 28 U.S.C. § 1441(c). Specifically, Defendant’s contentions

that it should not be deemed a citizen of New York are unsupported. First, Defendant’s Rule 7.1

disclosure statement fails to name and disclose the citizenships of the Recording Academy’s

various entities and individuals, a procedural requirement that must be met when demanding

removal. Additionally, the purported evidence put forth by Defendant in support of removal is

conclusory, and ultimately lacking for the Court to properly determine jurisdiction. For these

reasons, the case should be remanded to State Court.

                                   STANDARD OF REVIEW

       The federal removal statute provides that “any civil action brought in a State court of which

the district courts of the United States have original jurisdiction, may be removed by the defendant

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or defendants, to the district court of the United States for the district and division embracing the

place where such an action is pending.” See 28 U.S.C. § 1441(a). Removal may be challenged on

a number of grounds, including lack of subject matter jurisdiction, at issue in this case. See 28

U.S.C. § 1447.

        “If the court lacks clear subject matter jurisdiction, then it cannot consider the action.”

Harraz v. EgyptAir Airlines Co., 2019 WL 6700946, at *2 (S.D.N.Y. Dec. 9, 2019) (citing Pan

Atl. Grp., Inc. v. Republic Ins. Co., 878 F.Supp. 630, 638 (S.D.N.Y. 1995)). The party seeking

removal, not the party seeking remand, bears the burden of demonstrating that removal was proper.

Wilds v. United Parcel Service, Inc., 262 F.Supp.2d 163 (S.D.N.Y. 2003). The Court “must

construe all disputed questions of fact and controlling substantive law in favor of the plaintiff.”

Allstate Ins. Co. v. Credit Suisse Sec. (USA) LLC, 2011 WL 4965150, at *2 (S.D.N.Y. Oct. 19,

2011) (quoting In re NASDAQ Mkt. Makers Antitrust Litig., 929 F. Supp. 174, 178

(S.D.N.Y.1996)). As a general matter, “there is a presumption against removal, and uncertainties

tend to weigh in favor of remand.” Harraz v. EgyptAir Airlines Co., 2019 WL 6700946, at *2.

“Out of respect for the limited jurisdiction of the federal courts and the rights of states, [courts]

must resolve any doubts against removability.” Sokola v. Weinstein, 2020 WL 3605578, at *7

(S.D.N.Y. Jul. 2, 2020) (internal citation and quotation omitted).


                                          ARGUMENT

   I.      Defendant Has Failed to Demonstrate that this Court Has Subject Matter
           Jurisdiction on Diversity Grounds.

        In order for this Court to exercise jurisdiction, Defendant bears the burden of demonstrating

that (1) the parties are citizens of different states and (2) the amount in controversy exceeds




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$75,000.1 See 28 U.S.C. § 1332(a)(1). Regarding the first element, corporations are considered

citizens of every state in which they are incorporated and the state in which they have their

principal place of business. 28 U.S.C. § 1332(c)(1). To determine a corporation’s “principal place

of business,” the Supreme Court created the “nerve center” test in 2010, deeming a corporation's

principal place of business as the situs of its “nerve center”. The “nerve center” is where its

“officers direct, control, and coordinate the corporation's activities.” Hertz Corp v. Friend, 559

U.S. 77, 93 (2010). “[I]n practice it should normally be the place where the corporation maintains

its headquarters - provided that the headquarters is the actual center of direction, control and

coordination … and not simply an office where the corporation holds its board meetings…” Id. A

corporation’s “nerve center” may be different than the location where “the bulk of a company’s

business activities visible to the public take place.” Id. at 95.

           Here, Defendant’s assertions that its headquarters are in California is not enough to

demonstrate removability. Rather, Defendant must show that California is the actual center of

direction control, and coordination, i.e. its nerve center. It has failed to meet this burden. Defendant

describes itself as “a 501(c)(6) not-for-profit professional membership organization” with “twelve

‘Chapters’ nationwide, which serve as regional touchpoints to connect with members and advance

the Recording Academy’s mission.” Doc. No. #1, Exhibit Q, Decl. of Shonda Grant ¶3.

Nonetheless, Defendant’s Rule 7.1 disclosure are silent as to the citizenship of these Chapters or

other entities under the Recording Academy umbrella. These procedural defects must be cured

before the Court can properly consider Defendant’s removal.

           Rule 7.1 requires that, in actions in which jurisdiction is based on diversity, the seeking

party file a disclosure statement which “must name - and identify every individual or entity whose



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    Plaintiff does not dispute that the amount-in-controversy requirement has been met for diversity purposes.

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citizenship is attributed to that party.” Fed. R. Civ. P. 7.1(a)(2) (emphasis added). “What counts

as an ‘entity’ for purposes of Rule 7.1 is shaped by the need to determine whether the court has

diversity jurisdiction under § 1332(a).” Fed. R. Civ. P. 7.1, Advisory Committee Notes (2022).

The Recording Academy’s Rule 7.1 disclosure does not name or identify the citizenship of any of

the individuals or entities whose citizenship can be attributed to the Recording Academy. On this

basis alone, the case should be remanded to State Court.

        Additionally, Defendant makes a number of self-serving assertions in the Grant

Declaration, which only further demonstrates the need for full disclosure by the Recording

Academy before the Court can consider its citizenship for jurisdictional purposes. Defendant’s

Declarant states that several executives reside and work out of California, along with

approximately 120 employees. Doc. No. #1, Exhibit Q, Grant Decl. ¶¶ 4-5, 8. Grant acknowledges

that there are executives in New York, a New York Chapter, and other executives residing in other

locations across the United States. Id. at ¶¶ 6-7, 10. Grant herself does not work out of the

headquarters and is a resident of Nebraska. Id. at ¶7. Despite the presence of several vice-presidents

and officers outside of California, Grant conclusively states that “the majority of the corporate

decision-making and direction takes place at the Recording Academy’s Santa Monica, California

headquarters and within the state of California.” Id. at ¶9. These vague statements are insufficient

to assert that California is its principal place of business.

        As this Court has held, “the location of employees and the domicile listed in corporate

documents is largely immaterial in determining a corporation’s principal place of business.” Zurich

Am. Life Ins. Co. v. Nagel, 2021 WL 3077861, at *3 (S.D.N.Y. July 20, 2021). Further, “the nerve

center test is not simply a numbers game.” St. Paul Fire and Marine Ins. Co. v. Scopia Windmill

Fund, LP, 87 F.Supp.3d 603, 607 (S.D.N.Y. 2015). The test focuses on where a corporation’s



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“high-level decisions are made, not where day-to-day activities are managed.” Id. at 605.

Therefore, Defendant’s statements that the majority of executives and staff are located in

California are insufficient to satisfy the jurisdictional requirement.

        Further, while consideration of proffered declarations can be considered by the Court in

determining citizenship, declarations that simply “parrot[] the language of the Hertz decision …

without providing any supporting details for the assertions…” are not credible. Cofimco USA, Inc.

v. Mosiewicz, 2016 WL 1070854 *4 (S.D.N.Y. Mar. 16, 2018). Here, Defendant simply stating

that California is the situs of the majority of decision-making does not meet the burden required

for removal.

        As alleged in the Complaint, Plaintiff was introduced to Neil Portnow, Defendant’s then

President and CEO in New York City, where she attended events sponsored by Defendant, and

was subsequently sexually assaulted by him. Doc. No. #1, Exhibit M, Compl. ¶¶20, 25-28, 70, 73.

The State Court claims brought are a result of the opening of the statute of limitations by the New

York Legislature under the Adult Survivors Act (“ASA”), CPLR 214-j, and the New York City

Gender Motivated Violence Protection Law, N.Y.C. Admin. Code, Chapter 11 § 10-1101 et seq.2

Because state court claims are at the heart of this matter, the only basis for removal available to

Defendant requires it to prove that its principal place is not in New York, a burden it has not met.

For these reasons, Plaintiff’s Motion for Remand should be granted.

        In the alternative, should the Court find that removal is not warranted, Plaintiff requests

that Defendant be required to provide complete Rule 7.1 disclosures and sufficient evidence to

support the statements made in the Grant Declaration before a determination on jurisdiction. See



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  “C.P.L.R. 214-j accomplishes for adult survivors of sexual assault, i.e. persons who were 18 or over at the time
they were assaulted, what C.P.L.R. 214-g did for plaintiffs who were children (under 18) when they were sexually
abused.” C.P.L.R. 214-j, (Cmt) 2022.

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Fed. R. Civ. P. 7.1, Advisory Committee Notes (2002) (“Discovery may be appropriate to test

jurisdictional facts by inquiring into such matters as the completeness of a disclosure’s list of

persons or the accuracy of their described citizenships.”); see also St. Paul Fire and Marine Ins.

Co. v. Scopia Windmill Fund, LP, 87 F.Supp.3d 603, 605 (evidentiary hearing held to establish

facts relevant to the jurisdictional analysis). Such discovery is necessary to ascertain facts

otherwise unavailable to Plaintiff.

                                        CONCLUSION
         For these reasons, Plaintiff respectfully submit that remand to New York State Court is

appropriate.

Dated:          February 12, 2024
                New York, New York

                                                    /s/ Nahid A. Shaikh________________
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